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          In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 15-0526V
                                    Filed: December 16, 2016
                                           Unpublished

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LEE LIGGETT,                             *
                                         *
                     Petitioner,         *      Joint Stipulation on Damages;
v.                                       *      Influenza (“Flu”) Vaccine; Guillain-Barré
                                         *      Syndrome (“GBS”); Special Processing
SECRETARY OF HEALTH                      *      Unit (“SPU”)
AND HUMAN SERVICES,                      *
                                         *
                     Respondent.         *
                                         *
****************************
Danielle A. Strait, Maglio Christopher and Toale, PA, Washington, DC, for petitioner.
Althea W. Davis, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

        On May 22, 2015, Lee Liggett (“petitioner”), filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq., 2 (the “Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré Syndrome
(“GBS”) as a result of receiving the influenza (“flu”) vaccine on November 13, 2012. 3
Pet. at 1; Stip., filed Dec. 16, 2016, at ¶¶ 1, 2, 4. Petitioner further states that the
vaccine was administered in the United States, that he experienced the residual effects
of his injury for more than six months, and that there has been no prior award or
settlement of a civil action for damages as a result of his condition. Pet. at ¶¶ 1, 7, 9,
10; Stip. at ¶¶ 3-5. Respondent denies that the flu vaccine caused petitioner’s GBS or
any other injury or his current condition. Stip. at ¶ 6.


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
3   Petitioner also received a Zostavax vaccine, which is not covered under the Vaccine Program.
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       Nevertheless, on December 16, 2016, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $180,000.00 in the form of a check payable to petitioner, Lee
        Liggett. Stip. at ¶ 8. This amount represents compensation for all damages that
        would be available under 42 U.S.C. § 300aa-15(a) for injuries allegedly related to
        petitioner’s receipt of the influenza vaccine. Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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